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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                      Chapter 11
    In re:

    MOUNTAIN EXPRESS OIL COMPANY, et al.,                             Case No. 23-90147 (DRJ)

                                      Debtors. 1                      (Joint Administration Requested)


                                      WITNESS AND EXHIBIT LIST

             The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

hereby submit the following Witness and Exhibit List (the “Witness and Exhibit List”) with respect

to the hearing scheduled on March 20, 2023 at 12:00 pm. (CT) (the “Hearing”), in the above-

captioned bankruptcy cases (the “Cases”), pending before the Honorable David R. Jones, United

States Bankruptcy Judge, Courtroom 400, 515 Rusk, Houston, Texas 77002.

                                                WITNESS LIST

             The Debtors may call the following witnesses:

             1.     Michael Healy, Chief Restructuring Officer

             2.     Any witness listed, offered, or called by any other party.

             3.     Any witness required for rebuttal or impeachment.




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      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at www.kccllc.net/mountainexpressoil. The location of Debtor Mountain
      Express Oil Company’s principal place of business and the Debtors’ service address in these Chapter 11 Cases is
      3650 Mansell Road, Suite 250, Alpharetta, GA 30022.


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                                             EXHIBIT LIST

 Exhibit                     Description                     Offered   Objection   Admitted    Disposition
  No.                                                                                         After Hearing
   1.       Interim Cash Collateral Budget
            Any exhibits listed, designated, or offered by
    2.
            any other party.
     3      Any exhibits necessary for rebuttal.
            Any pleading or other document filed with the
            Court on the docket of the above-captioned
    4.
            chapter 11 cases and related adversary
            proceedings



         The Debtors reserve the right to modify, amend or supplement this Witness and Exhibit

List at any time. The Debtors reserve the right to ask the Court to take judicial notice of pleadings,

orders, transcripts and/or documents filed in or in connection with these Cases, to offer rebuttal

exhibits, and to supplement or amend this Witness and Exhibit List at any time prior to the Hearing.

Designation of any exhibit above does not waive any objections the Debtors may have to any

exhibit listed on any other party’s exhibit list.



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 Dated: March 20, 2023                           PACHULSKI STANG ZIEHL & JONES LLP

                                                 /s/ Michael D. Warner
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                                                 Steven W. Golden (SBT 24099681)
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                                                 -and-

                                                 Jeffrey N. Pomerantz (pro hac vice forthcoming)
                                                 Jeffrey W. Dulberg (pro hac vice forthcoming)
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                                                 Proposed Counsel to the Debtors and Debtors in
                                                 Possession




                                CERTIFICATE OF SERVICE

       I hereby certify that on this 20th day of March, 2023, a true and correct copy of the above
and foregoing has been served on all parties that are registered to receive electronic transmission
through this Court’s CM/ECF filing system in these cases.

                                                     /s/ Michael D. Warner
                                                     Michael D. Warner




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